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                    THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

DEREK ALAN SCHOPPLEIN,                        )
                                              )
                     Plaintiff,               )
                                              )
v.                                            )          CIV-20-395-R
                                              )
DAMON DEVERAUX, et al.,                       )
                                              )
                     Defendants.              )
                                              )

                                          ORDER

       Before the Court is a Report and Recommendation dated August 31, 2020 (Doc. No.

15), issued by United States Magistrate Judge Shon T. Erwin. Therein he recommends that

the 42 U.S.C. § 1983 case filed by Plaintiff be dismissed without prejudice in light of

Plaintiff’s failure to comply with certain orders. The Report and Recommendation

identified an Order that was mailed to Plaintiff at the Logan County Jail but returned to the

Court marked “RTS No longer in facility.” Judge Erwin’s August 6, 2020 Order and the

August 31, 2020 Report and Recommendation were not returned to the Court. On August

31, 2020, Plaintiff filed a Notice of Change of Address, indicating to the Court for the first

time that he had been released from custody. On October 15, 2020, the Court entered an

Order granting Plaintiff until October 31, 2020 (November 2, 2020 by virtue of October

31, 2020 falling on a Saturday), in which to file an objection to the Report and

Recommendation. See Fed. R. Civ. P. 6. The Court also admonished Plaintiff that he was

not entitled to rely on the prison mailbox rule because he was no longer incarcerated, and

therefore must ensure his objection was timely received. The record reflects that the Court
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has not received an objection from Plaintiff within the time limits prescribed by the Court’s

October 15, 2020 Order, nor has Plaintiff sought an extension of time in which to object.

Accordingly, the Court hereby ADOPTS the Report and Recommendation in its entirety

and DISMISSES this action without prejudice.

       IT IS SO ORDERED this 4th day of November 2020.




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